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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                                                   Plaintiff,
                                                                     CRIMINAL CASE NO. 95-50061
 v.

 DION ERIC SAVAGE,                                                   HONORABLE PAUL V. GADOLA
                                                                     U.S. DISTRICT COURT
                                Defendant.
 _______________________________________/

                                             ORDER TO STRIKE

         Pursuant to the Court’s Order issued February 6, 2006 [docket entry #727], IT IS HEREBY

ORDERED that Defendant’s Motion Pursuant to 18 U.S.C. § 3582(c) to Refund Money and Illegal

Sentence [docket entry #753], filed on August 20, 2007, is STRICKEN from the record.

         SO ORDERED.


Dated:       August 30, 2007                                     s/Paul V. Gadola
                                                                 HONORABLE PAUL V. GADOLA
                                                                 UNITED STATES DISTRICT JUDGE

                                                 Certificate of Service

         I hereby certify that on August 30, 2007        , I electronically filed the foregoing paper with the
         Clerk of the Court using the ECF system which will send notification of such filing to the
         following:
                                       Mark C. Jones                                            , and I hereby
         certify that I have mailed by United States Postal Service the paper to the following non-ECF
         participants:                   Dion Savage                                     .

                                                                 s/Ruth A. Brissaud
                                                                 Ruth A. Brissaud, Case Manager
                                                                 (810) 341-7845
